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  ZEICHNER ELLMAN & KRAUSE LLP
  33 Wood Avenue South, Suite 110
  Iselin, New Jersey 08830
  (973) 618-9100
  PHILIP S. ROSEN
  Attorneys for Defendant, Art Lending, Inc.

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


   AUGUST URIBE FINE ART, LLC,                    Civil Action No. 2:22-cv-03104-KM-JBC

                          Plaintiff,

   v.

   DARTMILANO SRL, PIER GIULIO
   LANZA, RICCARDO MANFRIN, MARIA
   STELLINA MARESCALCHI, FRACASSI
   WORLDWIDE SHPPING SRL, OBLYON                        ANSWER TO COMPLAINT
   GROUP, LLC AND ART LENDING, INC.,                   ON BEHALF OF DEFENDANT
                                                        ART LENDING, INC. WITH
                          Defendants,                       CROSS-CLAIMS
   v.

   A CERTAIN ARTWORK,
                      Defendants-in-rem.



                 Defendant Art Lending, Inc. (“Art Lending”), by its attorneys Zeichner

  Ellman & Krause LLP, answers the Complaint (the “Complaint”) of Plaintiff August

  Uribe Fine Art, LLC (“Plaintiff”) upon information and belief, as follows:

                                           PARTIES

                 1.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations, including the sub-paragraphs, contained in

  Paragraph 1 of the Complaint and, therefore, denies all allegations.
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                  2.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in Paragraph 2 of the Complaint and,

  therefore, denies all allegations.

                  3.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in Paragraph 3 of the Complaint and,

  therefore, denies all allegations.

                  4.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in Paragraph 4 of the Complaint and,

  therefore, denies all allegations.

                  5.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations, including the sub-paragraph, contained in

  Paragraph 5 of the Complaint and, therefore, denies all allegations

                  6.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations, including the sub-paragraph, contained in

  Paragraph 6 of the Complaint and, therefore, denies all allegations.

                  7.      Art Lending denies the allegations in Paragraph 7 of the Complaint

  except that it is a Nevada Corporation with offices at 10990 Wilshire Boulevard, Suite

  1150, Los Angeles, California, and that the Shinnecock Partners’ website speaks for

  itself.

                  8.      Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in Paragraph 8 of the Complaint and,

  therefore, denies all allegations.


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                   9.    Art Lending denies the allegations contained in Paragraph 9 of the

  Complaint except that the Artwork is being held at SRI Fine Art Services.

                               NATURE OF THIS ACTION

                   10.   Art Lending denies the allegations contained in paragraph 10 of

  the Complaint.

                   11.   Art Lending denies the allegations contained in paragraph 11 of

  the Complaint.

                   12.   Art Lending denies the allegations contained in paragraph 12 of

  the Complaint.

                   13.   Art Lending denies the allegations contained in paragraph 13 of

  the Complaint.

                   14.   Art Lending denies the allegations contained in paragraph 14 of

  the Complaint.

                              JURISDICTION AND VENUE

                   15.   Art Lending denies the allegations contained in paragraph 15 of

  the Complaint except it refers all questions of law to the court.

                   16.   Art Lending denies the allegations contained in paragraph 16 of

  the Complaint except it refers all questions of law to the court.

                   17.   Art Lending denies the allegations contained in paragraph 17 of

  the Complaint except it refers all questions of law to the court.




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                 18.     Art Lending denies the allegations contained in paragraph 18 of

  the Complaint except it refers all questions of law to the court.

                 19.     Art Lending denies the allegations contained in paragraph 19 of

  the Complaint except it refers all questions of law to the court.

                                           FACTS

                 20.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 20 of the Complaint and,

  therefore, denies the allegations.

                 21.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 21 of the Complaint and,

  therefore, denies the allegations.

                 22.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 22 of the Complaint and,

  therefore, denies the allegations.

                 23.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 23 of the Complaint and,

  therefore, denies the allegations.

                 24.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 24 of the Complaint and,

  therefore, denies the allegations.




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  The Contracts

                 25.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 25 of the Complaint and,

  therefore, denies the allegations.

                 26.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 26 of the Complaint and,

  therefore, denies the allegations.

                 27.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 27 of the Complaint and,

  therefore, denies the allegations.

                 28.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 28 of the Complaint and,

  therefore, denies the allegations.

                 29.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 29 of the Complaint and,

  therefore, denies the allegations.

                 30.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 30 of the Complaint and,

  therefore, denies the allegations.

                 31.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 31 of the Complaint and,

  therefore, denies the allegations.


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                 32.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 32 of the Complaint and,

  therefore, denies the allegations.

  The Shipment of the Artwork to Long Island City, New York

                 33.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 33 of the Complaint and,

  therefore, denies the allegations.

                 34.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 34 of the Complaint and,

  therefore, denies the allegations.

  Marescalchi Falsely Represents to UFA that DART Donors Need to See and Verify
  the Artwork at the New Jersey Warehouse Before Releasing Payment

                 35.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 35 of the Complaint and,

  therefore, denies the allegations.

                 36.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 36 of the Complaint and,

  therefore, denies the allegations.

                 37.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 37 of the Complaint and,

  therefore, denies the allegations.




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                 38.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 38 of the Complaint and,

  therefore, denies the allegations.

                 39.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 39 of the Complaint and,

  therefore, denies the allegations.

  The Artwork Moves to the New Jersey Warehouse

                 40.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 40 of the Complaint and,

  therefore, denies the allegations.

                 41.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 41 of the Complaint and,

  therefore, denies the allegations.

                 42.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 42 of the Complaint and,

  therefore, denies the allegations.

                 43.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 43 of the Complaint and,

  therefore, denies the allegations.

                 44.     Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 44 of the Complaint and,

  therefore, denies the allegations.

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                   45.   Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 45 of the Complaint and,

  therefore, denies the allegations.

                   46.   Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 46 of the Complaint and,

  therefore, denies the allegations.

                   47.   Art Lending denies the allegations contained in paragraph 47 of

  the Complaint.

                   48.   Art Lending denies the allegations contained in paragraph 48 of

  the Complaint.

                   49.   Art Lending denies the allegations contained in paragraph 49 of

  the Complaint.

  The Defendants Pull a Fast One, Move the Artwork, and Claim that it is Collateral
  for a Loan to DART by Art Lending.

                   50.   Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 50 of the Complaint and,

  therefore, denies the allegations.

                   51.   Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 51 of the Complaint and,

  therefore, denies the allegations.

                   52.   Art Lending denies the allegations contained in paragraph 52 of

  the Complaint.


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                   53.   Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 53 of the Complaint and,

  therefore, denies the allegations.

                   54.   Art Lending has no knowledge or information sufficient to form a

  belief as to the truth of the allegations contained in paragraph 54 of the Complaint and,

  therefore, denies the allegations.

                   55.   Art Lending denies the allegations contained in paragraph 55 of

  the Complaint except that DART secured a certain loan from Art Lending.

                   56.   Art Lending denies the allegations contained in paragraph 56 of

  the Complaint except that it maintains a perfected first lien security interest in the

  Artwork.

                   57.   Art Lending denies the allegations contained in paragraph 57 of

  the Complaint.

                   58.   Art Lending denies the allegations contained in paragraph 58 of

  the Complaint.

                   59.   Art Lending denies the allegations contained in paragraph 59 of

  the Complaint except that Shinnecock’s YouTube video speaks for itself.

                   60.   Art Lending denies the allegations contained in Paragraph 60 of

  the Complaint.




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   DART Defaults Again on its Payment Obligations and “Shops” the Artwork

                    61.   Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 61 of the Complaint and,

   therefore, denies the allegations.

                    62.   Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 62 of the Complaint and,

   therefore, denies the allegations.

                    63.   Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 63 of the Complaint and,

   therefore, denies the allegations.

                    64.   Art Lending denies the allegations contained in paragraph 64 of

   the Complaint.

                    65.   Art Lending denies the allegations contained in Paragraph 65 of

   the Complaint.

   UFA Confirms that the Artwork Will Not Be Moved

                    66.   Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 66 of the Complaint and,

   therefore, denies the allegations.

   DART and its Principals Acknowledge the Breach and Reconfirm the Obligation
   to Pay
                    67.   Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 67 of the Complaint and,

   therefore, denies the allegations.
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                  68.     Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 68 of the Complaint and,

   therefore, denies the allegations.

                  69.     Art Lending has no knowledge or information sufficient to form a

   belief as to the truth of the allegations contained in paragraph 69 of the Complaint and,

   therefore, denies the allegations.

                                        COUNT I

                                BREACH OF CONTRACT
                            (Against DART, Lanza and Manfrin)

                  70.     Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                  71.     The allegations and claims contained in paragraph 71 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  72.     The allegations and claims contained in paragraph 72 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  73.     The allegations and claims contained in paragraph 73 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  74.     The allegations and claims contained in paragraph 74 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.
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                    75.   The allegations and claims contained in paragraph 75 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                    76.   The allegations and claims contained in paragraph 76 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                    77.   The allegations and claims contained in paragraph 77 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                    78.   The allegations and claims contained in paragraph 78 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                    79.   The allegations and claims contained in paragraph 79 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                                        COUNT II

                                    CONVERSION
                    (Against DART, Fracassi, Oblyon and Art Lending)

                    80.   Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                    81.   Art Lending denies the allegations contained in paragraph 81 of

   the Complaint.



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                    82.   Art Lending denies allegations contained in paragraph 82 of the

   Complaint.

                    83.   Art Lending admits the allegations contained in paragraph 83 of

   the Complaint.

                    84.   Art Lending admits that it has refused to return the Artwork, and

   has no knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations contained in paragraph 84 of the Complaint and, therefore, denies the

   allegations.

                    85.   Art Lending denies the allegations contained in paragraph 85 of

   the Complaint.

                    86.   Art Lending denies the allegations contained in paragraph 86 of

   the Complaint.

                                       COUNT III

                                    FRAUD
            (Against Defendants DART, Lanza, Manfrin, and Marescalchi)

                    87.   Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                    88.   Art Lending denies allegations contained in paragraph 88 of the

   Complaint.

                    89.   The allegations and claims contained in paragraph 89 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.


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                  90.     The allegations and claims contained in paragraph 90 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  91.     The allegations and claims contained in paragraph 91 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  92.     The allegations and claims contained in paragraph 92 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  93.     The allegations and claims contained in paragraph 93 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  94.     The allegations and claims contained in paragraph 94 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                  95.     The allegations and claims contained in paragraph 95 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                                       COUNT IV

                           AIDING AND ABETTING FRAUD
                        (Against Fracassi, Oblyon and Art Lending)

                  96.     Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.
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                    97.    Art Lending denies the allegations contained in paragraph 97 of

   the Complaint.

                    98.    Art Lending denies the allegations contained in paragraph 98 of

   the Complaint.

                    99.    Art Lending denies the allegations contained in paragraph 99 of

   the Complaint.

                    100.   Art Lending denies the allegations contained in paragraph 100 of

   the Complaint.

                    101.   Art Lending denies the allegations contained in paragraph 101 of

   the Complaint.

                    102.   Art Lending denies the allegations contained in paragraph 102 of

   the Complaint.

                    103.   Art Lending denies the allegations contained in paragraph 103 of

   the Complaint.

                    104.   Art Lending denies the allegations contained in paragraph 104 of

   the Complaint.

                    105.   Art Lending denies the allegations contained in paragraph 105 of

   the Complaint.

                    106.   Art Lending denies the allegations contained in paragraph 106 of

   the Complaint.




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                    107.   Art Lending denies the allegations contained in paragraph 107 of

   the Complaint.

                    108.   Art Lending denies the allegations contained in paragraph 108 of

   the Complaint.

                    109.   Art Lending denies the allegations contained in paragraph 109 of

   the Complaint.

                                        COUNT V

                                    REPLEVIN
                  (Against DART, Fracassi, Oblyon, and Art Lending)

                    110.   Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                    111.   Art Lending denies the allegations contained in paragraph 111 of

   the Complaint.

                    112.   Art Lending denies the allegations contained in paragraph 112 of

   the Complaint.

                    113.   Art Lending denies the allegations contained in paragraph 113 of

   the Complaint.

                    114.   Art Lending denies the allegations contained in paragraph 114 of

   the Complaint.

                    115.   Art Lending denies the allegations contained in paragraph 115 of

   the Complaint.




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                                        COUNT VI

                                      CONSPIRACY
                                  (Against All Defendants)

                    116.    Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                    117.    Art Lending denies the allegations contained in paragraph 117 of

   the Complaint.

                    118.    Art Lending denies the allegations contained in paragraph 118 of

   the Complaint.

                    119.    Art Lending denies the allegations contained in paragraph 119 of

   the Complaint.

                                       COUNT VII

                              ORDER QUIETING TITLE UNDER
                           28 U.S.C. § 1655 – IN REM/QUASI IN REM

                    120.    Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                    121.    Art Lending denies the allegations contained in paragraph 121 of

   the Complaint.

                    122.    Art Lending denies the allegations contained in paragraph 122 of

   the Complaint.

                    123.    Art Lending denies the allegations contained in paragraph 123 of

   the Complaint.



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                    124.   Art Lending denies the allegations contained in paragraph 124 of

   the Complaint.

                    125.   Art Lending denies the allegations contained in paragraph 125 of

   the Complaint.

                    126.   Art Lending denies the allegations contained in paragraph 126 of

   the Complaint.

                    127.   Art Lending denies the allegations contained in paragraph 127 of

   the Complaint.

                                     COUNT VIII

                           BREACH OF BAILMENT AGREEMENT
                                   (Against Fracassi)

                    128.   Art Lending repeats and reiterates its responses to the foregoing

   allegations as if such responses were set forth at length herein.

                    129.   The allegations and claims contained in paragraph 129 the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                    130.   The allegations and claims contained in paragraph 130 the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                    131.   Art Lending denies the allegations contained in paragraph 131 of

   the Complaint.




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                    132.   Art Lending denies the allegations contained in paragraph 132 of

   the Complaint.

                    133.   The allegations and claims contained in paragraph 133 of the

   Complaint are directed to parties other than Art Lending so no response is required from

   Art Lending. To the extent a response is required, Art Lending denies the allegations.

                                      FIRST DEFENSE


                 The Complaint fails to state a claim for relief against Art Lending upon

   which relief may be granted

                                     SECOND DEFENSE


                 The claims against Art Lending are barred because Plaintiff lacks

   jurisdiction over Art Lending.

                                      THIRD DEFENSE


                 The claims may not be maintained against Art Lending because Art

   Lending has defenses founded upon documentary evidence.

                                     FOURTH DEFENSE


                 The Complaint fails to state a claim for relief against Art Lending for

   Conversion.

                                      FIFTH DEFENSE


                 The Complaint fails to state a claim for relief against Art Lending for

   Aiding and Abetting Fraud.


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                                     SIXTH DEFENSE


                  The Complaint fails to state a claim for relief against Art Lending for

   Replevin.

                                   SEVENTH DEFENSE


                  The Complaint fails to state a claim for relief against Art Lending for

   Conspiracy.

                                    EIGHTH DEFENSE


                  The Complaint fails to state a claim for relief against Art Lending for an

   Order Quieting Title and Possession under 28 U.S.C. § 1655 – In Rem/Quasi In Rem.

                                     NINTH DEFENSE


                  The Complaint fails to state a claim for relief against Art Lending for

   punitive damages.

                                     TENTH DEFENSE


                  The Complaint fails to state a claim for relief against Art Lending for

   compensatory damages.

                                  ELEVENTH DEFENSE


                  The Complaint fails to state a claim for relief against Art Lending for

   attorneys’ fees.




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                                     TWELFTH DEFENSE


                  Art Lending breached no contractual or common-law obligations owed to

   Plaintiff.

                                  THIRTEENTH DEFENSE


                  Art Lending breached no statutory duty or obligation owed to Plaintiff.

                                  FOURTEENTH DEFENSE


                  Plaintiff has not suffered any damage or loss by reason of any acts or

   omissions of Art Lending.

                                   FIFTEENTH DEFENSE


                  Any harm and/or damages allegedly sustained by Plaintiff resulted from

   its own acts or omissions, or the intervening/superseding action of third parties, for whom

   Art Lending is not responsible.

                                   SIXTEENTH DEFENSE


                  The claims against Art Lending should be dismissed or reduced because

   of Plaintiff’s failure to mitigate its alleged damages.

                                 SEVENTEENTH DEFENSE


                  The claims against Art Lending are barred in whole or in part by the

   doctrines of unclean hands and/or laches.




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                                  EIGHTEENTH DEFENSE


                  The claims against Art Lending are barred in whole or in part by the

   doctrines of estoppel, waiver and ratification.

                                  NINETEENTH DEFENSE


                  To the extent Plaintiff was named in a policy of insurance concerning any

   of the losses referred to in the Complaint, Plaintiff is precluded from recovering any such

   losses from Art Lending.

                                   TWENTIETH DEFENSE


                  To the extent Plaintiff obtained or obtains restitution or other payment

   from anyone concerning the allegations of the Complaint, Art Lending is entitled to an

   offset in like amount against the claims made against Art Lending in this action.

                       FIRST CROSS-CLAIM AGAINST
              DEFENDANTS DARTMILANO SRL, PIERGIULIO LANZA
             AND RICCARDO MANFRIN FOR RECOVERY UNDER THE
                     LOAN AND SECURITY AGREEMENT


                  1.      On or about September 8, 2021, Defendants Dartmilano SRL,

   Piergiulio Lanza and Riccardo Manfrin (collectively, “Borrowers”) entered into a certain

   loan facility with defendant Art Lending, Inc. (“Art Lending”) in the original principal

   amount of $14,605,000. In connection with the loan facility, Borrowers executed in favor

   of Art Lending a certain loan and security agreement and related loan documents

   (collectively, the “Loan Documents”).

                  2.      In the Loan Documents, Borrowers pledged to Art Lending certain

   collateral in the form of fine works of art and/or other assets (the “Collateral”), all as set

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   forth in the Loan Documents. As security for the payment and performance of the

   Obligations (as defined in the Loan Documents) to Art Lending, Borrowers granted to

   Art Lending a first lien priority interest in the Collateral.

                   3.      Under the Loan Documents, Events of Default include any false

   representations and/or warranties made by Borrowers to Art Lending, and any material

   change in the condition and/or affairs of Borrowers which would impair the full and

   timely payment of the Obligations (as defined in the Loan Documents).

                   4.      Upon an Event of Default, Art Lending may, among other things,

   accelerate the Loan Documents and declare the principal balance and all Obligations to

   be immediately due and payable, and repossess the Collateral and, upon not less than ten

   (10) days-notice, sell the Collateral at public or private sale or otherwise dispose of the

   Collateral and apply the proceeds of sale to the Obligations.

                   5.      Plaintiff’s claims and allegations in the Complaint as against

   Borrowers constitute Events of Default under the Loan Documents and, as such, Art

   Lending hereby declares Borrowers in default of the Loan Documents, accelerates the

   Loan Documents and declares the principal balance and all Obligations to be immediately

   due and payable. Art Lending hereby reserves its rights and remedies under the Loan

   Documents to repossess the Collateral and to sell the Collateral at public or private sale,

   consistent with the Loan Documents, and apply the sale proceeds to the Obligations.

                   6.      Based upon the foregoing and Plaintiff’s claims and allegations in

   the Complaint, Art Lending hereby demands recovery as against Borrowers under the

   Loan Documents.



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                   7.      Borrowers agreed to indemnify and hold harmless Art Lending and

   its affiliates, directors, officers, members, employees and agents (each, an “Indemnified

   Person”) from and against all litigation, suits, actions, proceedings, claims, damages,

   losses, liabilities and expenses (including counsel fees and costs) which may be instituted

   or asserted against or incurred by any such Indemnified Person in connection with or

   arising out of the Loan Documents and the transactions contemplated therein, and any

   and all liabilities and legal costs and expenses arising out of or incurred in connection

   with any disputes between and among any parties to any of the foregoing, and any

   investigation, litigation or proceeding related to any such matters.

                   8.      Based upon the foregoing and Plaintiff’s claims and allegations in

   the Complaint, Art Lending hereby demands indemnification from Borrowers under the

   Loan Documents.

                      SECOND CROSS-CLAIM AGAINST
              DEFENDANTS DARTMILANO SRL, PIERGIULIO LANZA
                  AND RICCARDO MANFRIN FOR RECOVERY
                     UNDER GUARANTY AGREEMENTS


                   9.      Art Lending repeats and reiterates the allegations of its first cross-

   claim as if set forth at length herein.

                   10.     Borrowers, in connection with the Loan Documents, each executed

   certain Guaranty Agreements in favor of Art Lending. In each Guaranty Agreement,

   Borrowers, among other things, unconditionally and irrevocably guaranteed to Art

   Lending the prompt payment and performance of the Guaranteed Obligations (as defined

   in the Guaranty) including all present and future obligations of Borrowers to Art Lending.




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                  11.     Plaintiff’s claims and allegations in the Complaint as against

   Borrowers constitute Events of Default under the Guaranty Agreements and, as such, Art

   Lending hereby declares Borrowers in default of the Guaranty Agreements and declares

   the Guaranteed Obligations to be immediately due and payable.

                  12.     Based upon the foregoing and Plaintiff’s claims and allegations in

   the Complaint, Art Lending hereby demands recovery as against Borrowers under the

   Guaranty Agreements.

                THIRD CROSS-CLAIM AGAINST ALL DEFENDANTS
                  FOR CONTRIBUTION AND INDEMNIFICATION


                  13.     Art Lending repeats and realleges its answer and defenses to the

   Complaint as if set forth at length herein.

                  14.     While denying it is in any way obligated or liable under the claims

   for relief asserted against it in the Complaint, Art Lending alleges that:

                         a.      Any obligation imposed upon it to respond in
                  damages could only result from operation of law based upon
                  technical, imputed, or implied liability, whereas the actual fault or
                  negligence was on the part of the co-defendants against whom these
                  claims were asserted, which entitles Art Lending to
                  indemnification.

                         b.      Any obligation of Art Lending to respond in
                  damages is based upon alleged torts of co-defendants, where the
                  causative act or failure to act was that of the co-defendants against
                  whom plaintiff’s claims were asserted.

                          c.      The co-defendants against whom plaintiff’s claims
                  were asserted are obligated under the terms and provisions of the
                  New Jersey Comparative Negligence Act (N.J.S.A. 2A:15-5.1, et
                  seq.) and/or The New Jersey Tort Claims Act (N.J.S.A. 59:1, et
                  seq.), Tortfeasors Contribution Act (N.J.S.A. 2A:53A, et seq.) for
                  their pro rata share of any judgment and thus entitles Art Lending
                  to contribution.

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                       d.      Art Lending is entitled to a determination of the
               percentage share of responsibility of all tortfeasors, whose fault
               contributed to the claimed injuries and property damage, as the
               obligation, if any, of Art Lending to respond in damages should not
               exceed its percentage share.

               WHEREFORE, defendant Art Lending demands judgment as follows:

                i.    dismissing the Complaint;

              ii.     judgment on its first and second cross-claims against
                      Borrowers for recovery under the Loan Documents and
                      Guaranty Agreements;

              iii.    Judgment on its third cross-claim against all defendants for
                      contribution and indemnification;

              iv.     the costs and disbursements of this action;

               v.     recovery of its counsel fees and costs to the extent permitted
                      by law; and

              vi.     for such other and further relief as is just and proper.

   DATED:      July 19, 2022


                                              ZEICHNER ELLMAN & KRAUSE LLP
                                              Attorneys for Defendant
                                              Art Lending, Inc.



                                        BY: /s/ Philip S. Rosen
                                            PHILIP S. ROSEN




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                             L. CIV. R. 11.2 CERTIFICATION

                  Pursuant to L. Civ. R. 11.2, I certify that to the best of my knowledge and

   belief, no other action is pending nor is any contemplated in any court or arbitration

   proceeding with respect to the attached pleading.

                             L. CIV. R. 201.1 CERTIFICATION

                  Pursuant to L. Civ. R. 201.1, I certify that to the best of my knowledge and

   belief, this matter is not subject to compulsory arbitration because the damages sought by

   Plaintiff exceed $150,000 exclusive of interest, costs of suit and punitive damages, and

   because Plaintiff seeks injunctive relief.


                                CERTIFICATE OF SERVICE


                  I certify that on July 19, 2022, I served a copy of the foregoing answer

   with cross-claims via electronic filing upon all parties who have appeared electronically

   on the Court docket.


   DATED:         July 19, 2022

                                                    ZEICHNER ELLMAN & KRAUSE LLP
                                                    Attorneys for Defendant
                                                    Art Lending, Inc.



                                                BY: /s/ Philip S. Rosen
                                                    PHILIP S. ROSEN




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